This suit is against the defendant acting as a fiduciary. This circumstance and the very patent multiplicity of its activities as such, are cogent reasons why the defendant is entitled to be more fully apprized of the basis of the plaintiff's claim than is set forth in the complaint.
It is not evidential matter the defendant seeks, but rather day and date of claimed business contacts; the identity of claimed representatives; and what was the undertaking that the plaintiff assumed and claims to have successfully concluded.
Certainly the defendant cannot plead with adequacy to the *Page 325 
present complaint. There may be legal questions lurking in whatever may be unfolded. It would be worse than to buy a pig in a poke for the defendant to join issue on the complaint as it stands.
   The motion is therefore granted in its entirety.